Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 1 of 28 Page ID #:109
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 2 of 28 Page ID #:110
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 3 of 28 Page ID #:111




                                                EXHIBIT
                                                    1
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 4 of 28 Page ID #:112
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 5 of 28 Page ID #:113




                                                   EXHIBIT
                                                       2
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 6 of 28 Page ID #:114
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 7 of 28 Page ID #:115




                                                           EXHIBIT
                                                               3
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 8 of 28 Page ID #:116
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 9 of 28 Page ID #:117
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 10 of 28 Page ID
                                  #:118
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 11 of 28 Page ID
                                  #:119
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 12 of 28 Page ID
                                  #:120
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 13 of 28 Page ID
                                  #:121
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 14 of 28 Page ID
                                  #:122
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 15 of 28 Page ID
                                  #:123
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 16 of 28 Page ID
                                  #:124
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 17 of 28 Page ID
                                  #:125




                                                             EXHIBIT
                                                                 4
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 18 of 28 Page ID
                                  #:126
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 19 of 28 Page ID
                                  #:127
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 20 of 28 Page ID
                                  #:128




                                                                       EXHIBIT
                                                                           5
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 21 of 28 Page ID
                                  #:129
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 22 of 28 Page ID
                                  #:130




                                                                 EXHIBIT
                                                                     6
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 23 of 28 Page ID
                                  #:131
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 24 of 28 Page ID
                                  #:132




                                                                   EXHIBIT
                                                                       7
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 25 of 28 Page ID
                                  #:133
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 26 of 28 Page ID
                                  #:134




                                                                  EXHIBIT
                                                                      8
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 27 of 28 Page ID
                                  #:135
Case 2:18-cv-00803-MWF-JEM Document 31-1 Filed 02/11/19 Page 28 of 28 Page ID
                                  #:136
